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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


SURFSIDE NON-SURGICAL ORTHOPEDICS,                           Case No.
P.A., individually and on behalf of all others
similarly situated,
                                                                     CLASS
                       Plaintiff,                               ACTION COMPLAINT
v.                                                                Jury Trial Demanded
ALLSCRIPTS HEALTHCARE SOLUTIONS,
INC.,
                       Defendant.



       Plaintiff Surfside Non-Surgical Orthopedics, P.A., on behalf of itself and all others

similarly situated, brings this Class Action Complaint against Allscripts Healthcare Solutions,

Inc. and upon personal knowledge as to itself and its own experiences, its counsel’s

investigations, and as to all other matters, upon information and belief, alleges as follows:

                                    NATURE OF THE ACTION

       1.      Plaintiff Surfside Non-Surgical Orthopedics, P.A. (hereinafter alternatively

“Plaintiff” or “Orthopedics ”) brings this class action against Allscripts Healthcare Solutions,

Inc. (hereinafter alternatively “Allscripts” or “Defendant”) for failing to secure its systems and

data from cyberattacks, including ransomware attacks. Accordingly, on January 18, 2018,

Allscripts did suffer a ransomware attack, which prevented Allscripts’ clients from conducting

their routine and ordinary business.

       2.      As a result of the ransomware attack experienced by Allscripts and as further

described below, Plaintiff could not access its patients’ records or electronically prescribe

medications, forcing Plaintiff to      cancel appointments, thereby causing significant business




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interruption and disruption, and lost revenues. Additionally, Plaintiff has expended significant

time and effort resolving these issues resulting from the breach, including communicating with

patients to reschedule appointments.

                                             PARTIES

       3.      Plaintiff is located and operates a medical practice in Boynton Beach, Florida.

       4.      Defendant Allscripts Healthcare Solutions, Inc. is a Delaware corporation with its

principle place of business in Chicago, Illinois.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d). The aggregated claims of the individual class members exceed

$5,000,000.00, exclusive of interest and costs, and all conditions are met.

       6.      This Court has jurisdiction over Allscripts as it maintains its corporate

headquarters in this District, and for the following reasons: 1) Allscripts makes decisions

regarding overall corporate governance and management in this District, including decisions

pertaining to the software that it sells and/or manages and the maintenance of the integrity of its

servers i.e. security measures to protect its clients’ access to electronic health records (“EHRs”);

2) it is authorized to conduct business throughout the United States, including Illinois; 3) it sells

and/or licenses proprietary software throughout Illinois and the United States; and, 4) it

advertises in a variety of media throughout the United States, including Illinois. Accordingly, via

its business operations throughout the United States, Allscripts intentionally avails itself of the

markets within this state to render the exercise of jurisdiction by this Court just and proper.




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          7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events and omissions giving rise to this action occurred in this District and

because Allscripts is headquartered in this District.

                                GENERAL FACTUAL BACKGROUND

          8.       Allscripts Healthcare Solutions, Inc. (MDRX-NASDAQ) is a publicly-traded,

American company that provides physician practices, hospitals, and other healthcare providers

with technology for practice management and electronic health records. Allscripts also provides

solutions for patient engagement and care coordination, as well as financial and analytics

technology. The company has more than 180,000 physician users and has solutions in 2,700

hospitals and 13,000 extended care organizations. 1

          9.       Allscripts’ products and services are used by 45,000 physician practices; 180,000

physicians; 19,000 post-acute agencies; 2,500 hospitals; 100,000 electronic prescribing

physicians; 40,000 in-home clinicians; and 7.2 million patients via the Allscripts patient

engagement platform.2

          10.      Allscripts primarily derives its revenues from sales of proprietary software to

healthcare organizations, which also serves as the basis for its recurring service contracts related

to software support and maintenance, as well as certain transaction-related activities, as further

described herein. Allscripts offers a suite of EHRs for hospitals, health systems, and physician

and community practices. Each of its EHR offerings delivers a single patient record, workflows,

and consolidated analytics. Professional EHR is one such offering. Allscripts’ Professional EHR

is for small to mid-size physician practices. Modules available with Professional EHRs include



1
    Wikipedia, https://en.wikipedia.org/wiki/Allscripts (last visited Jan. 24, 2018).
2
    Allscripts by the Numbers, http://www.allscripts.com/about-allscripts (last visited Jan. 24, 2018).



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Allscripts eRecruit, Allscripts Clinical Performance Reporting, Allscripts Practice Management,

Allscripts eChart Courier, and Allscripts iAssist.

        11.     In addition, Allscripts provides various other client services, including installation

services and managed services solutions such as outsourcing, private cloud hosting, and revenue

cycle management. For the years ending December 31, 2016 and 2015, revenues totaled $1.5

billion and $1.4 billion, respectively, with gross profit attributable to Allscripts totaling $671

million and $581 million, respectively, and income from operations totaling $60 million and $32

million, respectively3.

        12.     Because of its involvement with electronic personal health information (“PHI”),

Allscripts is both a “Covered Entity” and a “Business Associate” as defined under the rules and

regulations promulgated pursuant to the Health Insurance Portability and Accountability Act of

1996 (“HIPAA”).4 The HIPAA “Security Rule,” published in 2003, addresses the requirement

that both Covered Entities and Business Associates adopt security procedures to assure the

confidentiality, integrity, and availability of personal health care information, or PHI.5

        13.     Allscripts’ own “Security Program” mirrors the language of its HIPAA

obligations as its website states that: “At Allscripts, we are extremely vigilant when it comes to

protecting the confidentiality, integrity, and availability of the sensitive information with which

we have been entrusted.”6




3
  Allscripts Form 10-K Annual Report for the fiscal year ended December 2016 at p. 110-112.
4
  Allscripts Enterprise, Information Privacy & Security Policies: HIPPA Privacy Policy, Allscripts (Oct.
27, 2015), https://www.allscripts.com/File%20Library/Privacy%20Policy/Allscripts-HIPAA-privacy-
policy-2015.pdf; see also, 45 CFR Part 160, 164, Subparts A and C
5
  The Security Rule, https://www.hhs.gov/hipaa/for-professionals/security/laws-regulations/index.html
(last visited Jan. 25 2018), emphasis added.
6
  Allscripts Security Program, https://www.allscripts.com/allscripts-com/security-program (last visited
Jan. 25, 2018).



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           14.    Allscripts’ website also provides the company’s “Security Team Vision”: “[T]o

protect the security of corporate, employee, client and other confidential information; ensure that

it is available for use; build confidence in the integrity of information; foster a culture that values

security through promoting security awareness and providing guidance on security expectations

and goals.”7

           15.    Allscripts was aware, however, that at all times pertinent hereto, that deficiencies

in its products and services could result in privacy and security vulnerability or compromises,

and failed to take adequate measures to protect against any such event. In its most recent 10-K

filing, Allscripts poignantly forecasts what eventually happened here and claims it has devoted

substantial resources to address such issues:

           If our security is breached, we could be subject to liability, and clients could
           be deterred from using our products and services.

           Our business relies on the secure electronic transmission, storage and hosting of
           sensitive information, including PHI, financial information and other sensitive
           information relating to our clients, company and workforce. As a result, we face
           risk of a deliberate or unintentional incident involving unauthorized access to our
           computer systems or data that could result in the misappropriation or loss of
           assets or the disclosure of sensitive information, the corruption of data, or other
           disruption of our business operations. Similarly, denial-of-service, ransomware or
           other Internet-based attacks may range from mere vandalism of our electronic
           systems to systematic theft of sensitive information and intellectual property. We
           believe that, in recent years, companies in our industry have been targeted by such
           events with increasing frequency, primarily due to the increasing value of
           healthcare-related data. We have devoted and continue to devote significant
           resources to protecting and maintaining the confidentiality of this information,
           including designing and implementing security and privacy programs and controls,
           training our workforce and implementing new technology. We have no guarantee
           that these programs and controls will be adequate to prevent all possible security
           threats. Any compromise of our electronic systems, including the unauthorized
           access, use or disclosure of sensitive information or a significant disruption of our
           computing assets and networks, could adversely affect our reputation or our
           ability to fulfill contractual obligations, could require us to devote significant
           financial and other resources to mitigate such problems, and could increase our

7
    Id.



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        future cyber security costs, including through organizational changes, deploying
        additional personnel and protection technologies, further training of employees,
        and engaging third party experts and consultants. Moreover, unauthorized access,
        use or disclosure of such sensitive information could result in civil or criminal
        liability or regulatory action, including potential fines and penalties. In addition,
        any real or perceived compromise of our security or disclosure of sensitive
        information may deter clients from using or purchasing our products and services
        in the future, which could materially and adversely impact our financial condition
        and operating results.

        Recently, other companies and government agencies have experienced many
        high-profile incidents involving data security breaches by entities that transmit
        and store sensitive information. Lawsuits resulting from these security breaches
        have sought very significant monetary damages, although many of these suits
        have yet to be resolved. While we maintain insurance coverage that, subject to
        policy terms and conditions and subject to a significant self-insured retention, is
        designed to address certain aspects of security-related risks, such insurance
        coverage may be insufficient to cover all losses or all types of claims that may
        arise in our business, and we cannot provide assurance that this coverage will
        prove to be adequate or will continue to be available on
        acceptable terms.8

                                Ransomware Threatens Healthcare

        16.     Ransomware is a subset of malware in which the data on a victim’s computer, or

network, is locked, typically by encryption, and where payment is demanded as a condition of

providing the decryption key to unlock the encrypted data and once again make that data

available to the victim.9 The motive for ransomware attacks is nearly always monetary, and the

demanded payment is almost always in some form of crypto-currency, typically Bitcoin.10

        17.     Various forms of ransomware have been used to attack corporate as well as

individual user systems since as early as 2013. The Cryptolocker strain of ransomware posed as a

Trojan horse (malware contained or incorporated within otherwise legitimate-seeming websites,

applications, or attachments to emails or messages). In 2017, the WannaCry ransomware


8
  http://investor.allscripts.com/phoenix.zhtml?c=112727&p=irol-reportsannual (last visited Jan. 25, 2018).
9
  Ransomware, http://searchsecurity.techtarget.com/definition/ransomware (last visited Jan. 24, 2018).
10
   Id.



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attacked and encrypted more than 300,000 Microsoft Windows systems globally, demanding

payment in Bitcoin in exchange for the data decryption key. WannaCry’s mode of operation

closely follows ransomware’s general methodology:

       When executed, the WannaCry malware first checks the "kill switch" domain
       name; if it is not found, then the ransomware encrypts the computer's data, then
       attempts to exploit the SMB vulnerability to spread out to random computers on
       the Internet, and "laterally" to computers on the same network. As with other
       modern ransomware, the payload displays a message informing the user that files
       have been encrypted, and demands a payment of around $300 in bitcoin within
       three days, or $600 within seven days.11
       18.     While the extortionist’s payment demand is relatively small (ranging between

hundreds of dollars to tens of thousands of dollars), the damage wreaked on enterprise and other

users’ systems runs in to the hundreds of millions of dollars and more.

       19.     Unlike a data breach, whose seriousness results from the exfiltration and criminal

usage of personally identifiable information or personal health care information, a ransomware

attack renders data stored within a computer network or individual computer both unreadable

and completely inaccessible to the enterprise or computer user. In the case of a health care

products or services provider, the consequences can mean life or death.

       20.     Accordingly, hospitals and other healthcare related facilities and providers are

especially attractive targets for ransomware. While no sensitive or health information is

disseminated, the risks to patient treatment, health, and safety are significantly increased because

of the serious and even life-threatening consequences presented by even a short-lived

interruption of healthcare services. One example of this is Hollywood Presbyterian Medical




11
  WannaCry Ransomware Attack, https://en.wikipedia.org/wiki/WannaCry_ransomware_attack (last
visited Jan. 24, 2018).



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Center in Los Angeles, who in early 2016 was the victim of a ransomware attack and opted to

pay $17,000 in Bitcoin to retrieve the key to unlock its data.12

       21.     Other healthcare goods and services providers are not immune from ransomware

attacks. In mid-2017, pharmaceutical giant Merck was the subject of the ransomware strain

known as “NotPetya.” Merck’s business was brought to a virtual halt, and the cost to Merck, as

of October 2017, amounted to more than $300 million, including more than $175 million in lost

business,13 with the costs to insurers having been estimated at $275 million.14

       22.     It’s been reported that the SamSam strain of ransomware has been in existence

since at least as early as March 2016, and at that time represented a new method of attack. 15 The

malware is spread through poisoned web links and Java applications.

       23.     A typical SamSam ransomware note following a successful attack appears below:




12
   Richard Winton, Hollywood Hospital Pays $17,000 in Bitcoin to Hackers; FBI Investigating, The LA
Times (Feb. 18, 2016), http://www.latimes.com/business/technology/la-me-ln-hollywood-hospital-
bitcoin-20160217-story.html.
13
   Patrick Howell O’Neill, NotPetya Ransomware Cost Merck More than $310 Million, Cyber Scoop (Oct.
27, 2017), https://www.cyberscoop.com/notpetya-ransomware-cost-merck-310-million/
14
   Reuters Staff, Merck Cyber Attack May Cost Insurers $275 Million: Verisk’s PCS, Reuters (Oct. 19,
2017), https://www.reuters.com/article/us-merck-co-cyber-insurance/merck-cyber-attack-may-cost-
insurers-275-million-verisks-pcs-idUSKBN1CO2NP
15
   Tom Spring, New Server-Side Ransomware Hitting Hospitals, Threat Post (Mar. 29, 2016),
https://threatpost.com/new-server-side-ransomware-hitting-hospitals/117059/



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       24.     It was widely known that ransomware attacks were a threat in 2018. Indeed, the

first ransomware attack was reported to occur in 1989, and involved a healthcare provider.16

                The January 2018 SamSam Ransomware Event At Allscripts

       25.     Beginning on or about January 18, 2018, a strain of ransomware known as

“SamSam” attacked, compromised, and crippled Allscripts’ data centers in Raleigh and

Charlotte, North Carolina, disabling Plaintiff’s ability to access and transact with Allscripts’

electronic health record system, as well as some e-prescribing system capabilities.17

       26.     Allscripts disclosed that its Professional EHR system had been attacked and

infected by the SamSam ransomware, resulting in the encryption of patient health-related

information used to conduct Allscripts’ business. Allscripts has reported that its Professional



16
   Nate Lord, A History of Ransomware Attacks: The Biggest and Worst Ransomware Attacks of All
Time, Digital Guardian (Dec. 7, 2017), https://digitalguardian.com/blog/history-ransomware-attacks-
biggest-and-worst-ransomware-attacks-all-time
17
   Robert Abel, Allscript still recovering from SamSam Ransomware Attack, SC Media (Jan. 24, 2018),
https://www.scmagazine.com/samsam-ransomware-continues-to-wreak-havoc-on-
infrastructure/article/738983/



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EHR and Electronic Prescriptions for Controlled Substances cloud-based service were the

hardest hit by the ransomware attack.18

       27.     What makes the SamSam attack so pernicious is that by encrypting (and

hobbling) key components of Allscripts’ network, it also hobbled Allscripts’ ability to conduct

its business – the Allscripts Professional EHR System – and crippling an undisclosed number of

e-prescribing system vulnerabilities. 19 This attack hurt both patients and their healthcare

providers using the Allscripts systems in that providers were unable to e-prescribe drugs, and

patients were unable to obtain drugs e-prescribed for them by those providers

       28.     Healthcare industry knowledge and awareness of the widespread issues with

SamSam ransomware have been known since at least as early as March 2016. 20 Allscripts

disregarded Plaintiff’s and Class Members’ rights by intentionally, willfully, recklessly, and/or

negligently failing to take adequate and reasonable measures to implement, monitor, and audit its

data systems, which could have prevented or minimized the effects of the SamSam ransomware

attack it experienced in January 2018.

       29.     Ransomware attacks are Security Incidents under HIPAA because they impair

both the integrity (data is not interpretable) and availability (data is not accessible) of patient

health information:

       The presence of ransomware (or any malware) on a covered entity’s or business
       associate’s computer systems is a security incident under the HIPAA Security
       Rule. A security incident is defined as the attempted or successful unauthorized
18
   Marianne Kolbasuk McGee, Allscripts Ransomware Attack a Reminder of Cloud Risks, BankInfo
Security (Jan. 22, 2018), https://www.bankinfosecurity.com/allscripts-ransomware-attack-reminder-
cloud-risks-a-10602
19
   Robert Abel, Allscript still recovering from SamSam Ransomware Attack, SC Media (Jan. 24, 2018),
https://www.scmagazine.com/samsam-ransomware-continues-to-wreak-havoc-on-
infrastructure/article/738983/
20
   Server-side Ransomware SAMSAM Hits Healthcare Industry, Trend Micro (Mar. 31, 2016),
https://www.trendmicro.com/vinfo/sg/security/news/cybercrime-and-digital-threats/server-side-
ransomware-samsam-hits-healthcare-industry



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        access, use, disclosure, modification, or destruction of information or interference
        with system operations in an information system. See the definition of security
        incident at 45 C.F.R. 164.304. Once the ransomware is detected, the covered
        entity or business associate must initiate its security incident and response and
        reporting procedures. See 45 C.F.R.164.308(a)(6).21

        30.     The SamSam attack on Allscripts’ systems and data is also considered a breach

under the HIPAA Rules because there was an access of PHI not permitted under the HIPAA

Privacy Rule:

        A breach under the HIPAA Rules is defined as, “...the acquisition, access, use, or
        disclosure of PHI in a manner not permitted under the [HIPAA Privacy Rule]
        which compromises the security or privacy of the PHI.” See 45 C.F.R. 164.402.22

        31.     As of the filing of this Complaint, Allscripts has not disclosed the full nature and

extent of the attack on its systems; however, upon information and belief, the full functionality of

its services has not yet been restored.

                             Plaintiff and the Class Suffered Damages

        32.     Plaintiff and the Class are purchasing users of Allscripts’ Professional EHR and

electronic prescription products.

        33.     In their everyday practice, and as an integral part of their business, Plaintiff and

the Class place significant reliance on their ability to access and transact with the products and

services provided by Allscripts.

        34.     As a direct and proximate result of Allscripts’ wrongful acts and omissions,

Plaintiff and the Class suffered, and continue to suffer, economic damage and other actual harm,

including monetary losses arising from significant business interruption and disruption, together

with expenses incurred in attempts to mitigate such business interruption and disruption.


21
   FACT SHEET: Ransomware and HIPAA,
https://www.hhs.gov/sites/default/files/RansomwareFactSheet.pdf (last visited Jan. 25, 2018).
22
   Id.



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       35.       As of the date of the filing of this Complaint, Plaintiff and the Class continue to

experience significant business interruption and disruption as a direct and proximate result of

their inability to: access and transact with Allscripts’ products and services; submit electronic

prescriptions; and to access any patient records or any of the above modules. Allscripts wanton,

willful, and reckless disregard caused a complete and total interruption of service, and further

caused Plaintiff and the Class monetary and other damages.

       36.       Allscripts failed to implement appropriate processes that could have prevented or

minimized the effects of the SamSam ransomware attack.

       37.       Plaintiff acted in reasonable reliance on Allscripts’ misrepresentations and

omissions regarding the security of its product and services, and would not have purchased

Allscripts’ products and/or software had they known that Allscripts did not take all necessary

precautions to protect itself from cyberattack, including ransomware attacks. Plaintiff and the

Class would not have gone through with a purchase had they known that the use of Allscripts’

products was accompanied by an unreasonable risk of business disruption, interruption and

monetary loss.

                                CLASS ACTION ALLEGATIONS

       38.       Plaintiff seeks relief in its individual capacity and as representative of all others

who are similarly situated. Pursuant to Fed. R. Civ. P. 23(a) and (b)(2), (b)(3), and (c)(4),

Plaintiff seeks certification of a Nationwide class. The national class is initially defined as

follows: all Allscripts subscribers residing in the United States who were affected by an

interruption of service due to the ransomware attack (the “Nationwide Class”).

       39.       Excluded from the above Class are Allscripts, including any entity in which

Allscripts has a controlling interest, is a parent or subsidiary, or which is controlled by Allscripts,




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as well as the officers, directors, affiliates, legal representatives, heirs, predecessors, successors,

and assigns of Allscripts. Also excluded are the judges and court personnel in this case and any

members of their immediate families.

       40.     Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Class are so numerous

that the joinder of all members is impractical. While the exact number of Class members is

unknown to Plaintiff at this time, Allscripts provides data services to 45,000 physician practices

and 180,000 physicians.

       41.     Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law and

fact common to the Class, which predominate over any questions affecting only individual Class

members. These common questions of law and fact include, without limitation:

               a. Whether Allscripts failed to implement, monitor and audit adequate processes

                   to timely detect, prevent, or mitigate a cyberattack;

               b. Whether Allscripts’ failures and omissions constitute a breach of contract;

               c. Whether Allscripts’ failures and omissions constitute negligence, gross

                   negligence, or negligence per se;

               d. Whether Allscripts unreasonably placed its clients at risk of having their

                   business interrupted and disrupted as a result of a cyberattack;

               e. Whether Allscripts’ system was vulnerable to cyberattack by reason of their

                   acts and omissions;

               f. Whether Allscripts violated the Illinois Consumer Fraud Act by failing to

                   comply with the HIPPA Security Rule; to wit, by failing to implement

                   reasonable security procedures and practices to protect the integrity and

                   availability of PHI;




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              g. Whether Allscripts violated the Illinois Deceptive Trade Practices Act by

                  failing to comply with the HIPPA Security Rule; to wit, by failing to

                  implement reasonable security procedures and practices to protect the

                  integrity and availability of PHI

              h. Which security procedures and which data-breach notification procedures

                  should Allscripts be required to implement as part of any injunctive relief

                  ordered by the Court;

              i. Whether Allscripts has an implied contractual obligation to use reasonable

                  security measures;

              j. Whether Allscripts has complied with any implied contractual obligation to

                  use reasonable security measures;

              k. What security measures, if any, must be implemented by Allscripts to comply

                  with its implied contractual obligations;

              l. What the nature of the relief should be, including equitable relief, to which

                  Plaintiff and the Class members are entitled.

       42.    All members of the proposed Class are readily ascertainable. Allscripts has access

to the addresses and other contact information for members of the Class, which can be used for

providing notice to many Class members.

       43.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of those of other

Class members because Plaintiff was denied access to patient EHR, like every other class

member.




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         44.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and

adequately represent and protect the interests of the members of the Class. Plaintiff’s Counsel are

competent and experienced in litigating class actions, including privacy litigation.

         45.    Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is superior to

other available methods for the fair and efficient adjudication of this controversy since joinder of

all the members of the Class is impracticable. Furthermore, the adjudication of this controversy

through a class action will avoid the possibility of inconsistent and potentially conflicting

adjudication of the asserted claims. There will be no difficulty in the management of this action

as a class action.

         46.    Damages for any individual class member are likely insufficient to justify the cost

of individual litigation, so that in the absence of class treatment, Allscripts’ violations of law

inflicting substantial damages in the aggregate would go un-remedied without certification of the

Class.

         47.    Class certification is also appropriate under Fed. R. Civ. P. 23(a) and (b)(2),

because Allscripts has acted or has refused to act on grounds generally applicable to the Class, so

that final injunctive relief or corresponding declaratory relief is appropriate as to the Class as a

whole.

   COUNT I - NEGLIGENCE, GROSS NEGLIGENCE, AND NEGLIGENCE PER SE
                         (On Behalf of Plaintiff and the Nationwide Class)

         48.    Plaintiff repeats and fully incorporates all factual allegations contained in

paragraphs 1 through 47 as if fully set forth herein.

         49.    Allscripts owed a duty to Plaintiff and Class Members to exercise reasonable care

to safeguard its systems and data from cyberattack, including ransomware attacks.




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        50.     Allscripts is both a Covered Entity as well as a Business Associate; and as such,

has a duty to protect PHI in accordance with the provision of HIPPA.

        51.     Allscripts breached its duties by failing to implement, monitor, and audit the

security of its data and systems, resulting in a ransomware attack that significantly impeded

and/or prevented its clients’ ability to conduct business.

        52.     Allscripts violated its duties and its obligations under HIPAA as a Covered Entity

and a Business Associate by reason of the infiltration of ransomware into its systems and data.

        53.     Neither Plaintiff nor the Class contributed to the ransomware attack as described

in this Complaint.

        54.     As a direct and proximate result of Allscripts’ conduct, Plaintiffs and the Class

suffered damages including, but not limited to, disruption and interruption of its business and

everyday provision of services to patients.

        55.     Allscripts’ acts and omissions as alleged herein were willful, wanton, and with

reckless disregard for the rights of Plaintiff and the Class.

        56.     Allscripts’ acts and omissions in violating HIPAA constitute negligence per se

because it failed to maintain the integrity and availability of PHI.

        57.     As a result of Allscripts’ negligence, gross negligence, and negligence per se,

Plaintiffs and the Class suffered damages, including costs incurred as a result of both business

interruption and disruption, together with other damages as may be shown at trial.

                                COUNT II – BREACH OF CONTRACT
                          (On Behalf of Plaintiff and the Nationwide Class)

        58.     Plaintiff incorporates the factual allegations contained in Paragraphs 1 through 47

as if fully set forth herein.

        59.     Allscripts entered into contracts with Plaintiff and the Class.



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        60.     Allscripts agreed to provide its specialized services in a professional and

workmanlike manner.         Implicit in performing these contractual duties is an obligation to

reasonably safeguard its systems and data from cyberattack, including ransomware attacks,

which can cause an interruption in the flow of an enterprise’s routine and everyday provision of

services to its clients.

        61.     Allscripts breached its contracts with Plaintiff and Class members by failing to

reasonably safeguard its systems and data from cyberattack, including ransomware attacks.

        62.     As a direct and proximate result of Allscripts’ contract breaches, Plaintiff and the

Class sustained actual losses and damages including, but not limited to, complete interruption

and disruption of its business of providing services to patients OR complete denial of service and

the corresponding inability to operate their business.

                              COUNT III – UNJUST ENRICHMENT
                           (On behalf of Plaintiffs and the Nationwide Class)

        63.     Plaintiff repeats and incorporates the allegations contained in paragraphs 1

through 47 as if fully set forth herein.

        64.     Plaintiff and the Class conferred a benefit to Allscripts when it entered into a

contractual agreement with Allscripts and provided payment for the sale of its products and

services.

        65.     In exchange for, and in consideration of, Plaintiff and Class members providing

payment for Allscripts’ products and services, Allscripts was required to, and Plaintiff and the

Class expected Allscripts to, implement reasonable security policies and procedures that would

have detected, prevented, or mitigated a SamSam ransomware attack.




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        66.     Allscripts states that it devotes “significant resources” to protect PHI, a portion of

which is derived from the benefit conferred by the contractual payments made by Plaintiff and

the Class to Allscripts.

        67.     As a result of Allscripts acts and omission as alleged herein, Allscripts has been

unjustly enriched to the extent that any portion of such contractual payments comprises spending

for adequate security not provided.


              COUNT IV – VIOLATION OF ILLINOIS CONSUMER FRAUD ACT
                           (On behalf of Plaintiffs and the Nationwide Class)

        68.     Plaintiff repeats and incorporates the allegations contained in paragraphs 1

through 47 as if fully set forth herein.

        69.     Allscripts, operating through its Illinois headquarters, engaged in deceptive,

unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in violation of

815 Ill. Comp. Stat. § 505/2, including but not limited to the following:

                a. Fraudulently advertising material facts pertaining to its system and data

                    services by representing and advertising that it would maintain security

                    practices and procedures to safeguard its systems and data from cyberattack,

                    including ransomware attacks, which can cause an interruption in the flow of

                    an enterprise’s routine and everyday provision of services to its clients and to

                    prevent infiltration of the security system so as to safeguard PHI from

                    unauthorized access;

                b. Misrepresenting material facts pertaining to its system and data services by

                    representing and advertising that it would maintain security practices and

                    procedures to safeguard its systems and data from cyberattack, including




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                   ransomware attacks, which can cause an interruption in the flow of an

                   enterprise’s routine and everyday provision of services to its clients and to

                   prevent infiltration of the security system so as to safeguard PHI from

                   unauthorized access;

               c. Omitting, suppressing, and concealing the material fact of the inadequacy of

                   the security practices and procedures;

               d. Engaging in deceptive, unfair, and unlawful trade acts or practices by failing

                   to maintain security practices and procedures to safeguard its systems and data

                   from cyberattack, including ransomware attacks, which can cause an

                   interruption in the flow of an enterprise’s routine and everyday provision of

                   services to its clients and to prevent infiltration of the security system so as to

                   safeguard PHI from unauthorized access; and

               e. Engaging in deceptive, unfair, and unlawful trade acts or practices by failing

                   to take proper action following the ransomware attack to enact reasonable

                   security practices to safeguard its systems and data from cyberattack,

                   including ransomware attacks, which can cause an interruption in the flow of

                   an enterprise’s routine and everyday provision of services to its clients

       70.     As a direct and proximate result of Allscripts’ deceptive trade practices, Plaintiffs

and the Class suffered injuries, including but not limited to, complete interruption and disruption

of its business of providing services to patients OR complete denial of service and the

corresponding inability to operate their business of providing services to patients.

       71.     The above unfair and deceptive practices and acts by Allscripts were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury that Plaintiffs and




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the Class could not reasonably avoid; this substantial injury outweighed any benefits to

consumers or to competition.

        72.       Allscripts knew or should have known that its computer systems and security

practices and procedures were inadequate and that risk of a ransomware attack, data breach, or

theft was high. Allscripts’ actions in engaging in the above-named unfair practices and deceptive

acts were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of

Plaintiffs and the Class.

        73.       Plaintiff and the Class seek relief under 815 Ill. Comp. Stat. § 505/10a, including,

but not limited to, damages, restitution, punitive damages, injunctive relief, and/or attorneys’

fees and costs.

        COUNT V – VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE
                             PRACTICES ACT
                          (On behalf of Plaintiffs and the Nationwide Class)
        74.       Plaintiff repeats and incorporates the allegations contained in paragraphs 1

through 47 as if fully set forth herein.

        75.       Allscripts, operating through its Illinois headquarters, engaged in deceptive,

unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in violation of

815 Ill. Comp. Stat. §§ 510/2(a)(5), and (7).

        76.       While in the course of its businesses, Allscripts, operating in Illinois, engaged in

deceptive trade practices by:

                  a. Fraudulently advertising material facts pertaining to its system and data

                     services by representing and advertising that it would maintain security

                     practices and procedures to safeguard its systems and data from cyberattack,

                     including ransomware attacks, which can cause an interruption in the flow of




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                   an enterprise’s routine and everyday provision of services to its clients and to

                   prevent infiltration of the security system so as to safeguard PHI from

                   unauthorized access;

               b. Misrepresenting material facts pertaining to its system and data services by

                   representing and advertising that it would maintain security practices and

                   procedures to safeguard its systems and data from cyberattack, including

                   ransomware attacks, which can cause an interruption in the flow of an

                   enterprise’s routine and everyday provision of services to its clients and to

                   prevent infiltration of the security system so as to safeguard PHI from

                   unauthorized access;

       77.     Allscripts knew or should have known that its computer systems and data security

practices were inadequate to safeguard its systems and data from cyberattack, including

ransomware attacks, which can cause an interruption in the flow of an enterprise’s routine and

everyday provision of services to its clients and to prevent infiltration of the security system so

as to safeguard PHI from unauthorized access, and engaged in negligent, knowing, and/or willful

acts of deception as to those practices and security measures.

       78.     As a direct and proximate result of Allscripts deceptive and unfair actions,

Plaintiff and the Class have been damaged as follows: complete interruption and disruption of its

business of providing services to patients OR complete denial of service and the corresponding

inability to operate their business of providing services to patients.




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                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all Class members proposed in

this Complaint, respectfully requests that the Court enter judgment in their favor and against

Allscripts as follows:

       a. For an Order certifying the Nationwide Class as defined herein, and appointing

           Plaintiff and her Counsel to represent the Nationwide Class;

       b. For equitable relief compelling Allscripts to utilize appropriate methods and policies

           with respect to ransomware protection.

       c. For equitable relief requiring restitution and disgorgement of the revenues wrongfully

           retained as a result of Allscripts’ wrongful conduct;

       d. For an award of actual damages and compensatory damages, in an amount to be

           determined;

       e. For an award of costs of suit and attorneys’ fees, as allowable by law; and

       f. Such other and further relief as this court may deem just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff demands a jury trial on all issues so triable.


Dated: January 25, 2018

                                                       Respectfully submitted,

                                                       /s/ Steven W. Teppler
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                                         *motion for admission pro hac vice to be
                                         submitted




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